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                                                              y
              IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA    21109FE1327 PH 3 19
                          WAYCROSS DIVISION

UNITED STATES OF AMERICA             )                        SO.ftT. OF GA.

V.
                                            CASE NO. CR507021
BRIAN L. RAULS,

       Defendant.


                               ORDER

       Before the Court is Defendant Brian Rauls's "Motion to

Dismiss Indictment as to Brian Rauls Due to Defendant

Deprived of Right to Speedy Trial." (Doc. 107.) In its

Response, the Government concedes that the technical

requirements of the Speedy Trial Act were not met.                (Doc.

108 at 2.) Therefore, Defendant's Motion is GRANTED.

After viewing the totality of the circumstances in light of

the statutory factors contained in 18 U.S.C. § 3162(a) (2),

and considering the constitutional standards announced in

Barker v. Wingo, 407 U.S. 514 (1972), the Court concludes

that this case should be DISMISSED WITHOUT PREJUDICE.

                               BACKGROUND

       Defendant Rauls was indicted, along with Defendant

Armaund J. Sims, for possession with intent to distribute

approximately ninety-nine pounds of marijuana. (Doc. 1.)

On February 4, 2008, both Defendant Rauls and Defendant

Sims appeared before the Magistrate Judge for arraignment,
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where they entered pleas of not guilty. (Doc. 11.)

Defendant Rauls quickly filed several evidentiary motions,

including a Motion for Disclosure of Plea Agreement filed

on March 20, 2008.       (Doc. 30.)     The Government issued a

Superseding Indictment on April 3, 2008, adding Defendant

Uriel Amaya, Jr. as a defendant.' On April 30, 2008,

Defendant Sims appeared before this Court and entered a

plea of guilty to count one of the Superseding Indictment.

(Doc. 54.) After the numerous motions filed by Defendant

Rauls and Defendant Amaya were resolved , 2             the Court

sentenced Defendant Sims on December 11, 2008.

     On January 12, 2009, Defendant Rauls filed the Motion

to Dismiss presently before the Court. In the Motion,

Defendant Rauls argues that after September 2, 2008, when

the Magistrate Judge resolved all pending motions, there

has been no excludable time. Therefore, Defendant Rauls

reasons that, as of January 12, 2009, his cased must be

dismissed because more than seventy non-excludable days had

elapsed and the Government failed to bring him to trial.

     In its Response to Defendant Rauls's Motion to

Dismiss, the Government conceded that the technical

requirements of the Speedy Trial Act had not been met.

1 Defendant Amaya was finally arrested on June 10, 2008 in
the District of Arizona.
2
  Defendant Rauls filed 16 motions between March 5 and June
10, 2008.    Defendant Amaya filed 12 motions on July 21,
2008.

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(Doc. 108 at 2.)        The Government, therefore, consented to

the dismissal of the Indictment against Defendant Rauls,

but argued that it should be dismissed without prejudice.

                              ANALYSIS

     When a case is dismissed under the Speedy Trial Act,

the Government must offer "some affirmative justification"

why the dismissal should be without prejudice. United

States v. Godoy, 821 F.2d 1498, 1505 (11th Cir. 1987)

However, the Eleventh Circuit Court of Appeals perceives no

statutory preference for either form of dismissal. United

States v. Miranda, 835 F.2d 830, 834 (11th Cir. 1988)

Accordingly, the decision to dismiss with or without

prejudice is left "to the sound discretion of the district

court." United States v. Derose, 74 F.3d 1177, 1182 (11th

Cir. 1996) . In exercising this discretion, the Court

"shall consider, among others, each of the following

factors: the seriousness of the offense; the fact and

circumstances of the case which led to the dismissal; and

the impact of a reprosecution on the administration of [the

Speedy Trial Act] and the administration of justice." 18

U.S.C. § 3162(a) (2).

     In the instant case, the Court finds that the alleged

offense is serious. Defendant is charged with conspiracy

to distribute, and possession with intent to distribute,

approximately ninety-nine pounds of marijuana.            Defendant



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is also charged with possession of a firearm in furtherance

of a drug trafficking crime. If convicted, Defendant is

subject to a minimum sentence of five years and a maximum

sentence of life imprisonment. The Court further finds

that the Government has acted in good faith while

prosecuting this case and is not responsible for the

purported failure to try Defendant in the time mandated by

the Speedy Trial Act. 3 Finally, the Court finds that the

Government's ability to reprosecute Defendant has minimal

impact on the 'administration of [the Speedy Trial Act] and

on      the    administration      of    justice."        18    U.S.C.

§    3162 (a) (2).

       After viewing the totality of the circumstances in

light of these statutory factors, and considering the

constitutional standards announced in Barker v. Wingo, 407

U.S. 514 (1972), the Court concludes that this case should

be DISMISSED WITHOUT PREJUDICE.

       While the Court has granted Defendant's Motion based

on the Government's concession that the technical

requirements of the Speedy Trial Act were not met, the

Court is doubtful that the Act actually mandates dismissal

in this case. The Speedy Trial Act requires that a

defendant be brought to trial within seventy days of either


  The Court notes that, at all times, the Government was
diligent in prosecuting this case. The failure, if any, to
set this case for trial was not the fault of either party.

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the filing of his indictment or his first appearance before

a judicial officer, whichever is later.          United States v.

Williams, 197 F.3d 1091, 1093 (11th Cir. 19.99) (citing

United States v, Davenport, 935 F.2d 1223, 1227 (11th Cir.

1991)) . The Act lists several periods of time that may be

excluded from the seventy-day requirement.          See 18 U.S.C.

§ 3161(h). The period of time "resulting from any pretrial

motion, from the filing of the motion through the

conclusion of the hearing on, or other prompt disposition

of,    such    motion"    is    properly     excludable.         Id.

§ 3161(h) (1) (F)

      In addition, a period of time that is excludable as to

one defendant is excludable as to all co-defendants.             Id.

§ 3161(h) (7) (excluding "[a] reasonable period of delay

when the defendant is joined for trial with a codefendant

as to whom the time for trial has not run and no motion for

severance has been granted") . In a recent unpublished

opinion, the Eleventh Circuit Court of Appeals held that

delay due to a court's consideration of a defendant's plea

agreement is properly excludable as to his co-defendants.

United States v. Childers, 290 Fed. App'x 253, 254-55 (11th

dr. 2008) (unpublished) . Specifically, the Eleventh

Circuit determined in Childers that the period of delay

between a defendant's plea hearing and his sentencing is

excludable as to all co-defendants. Id.



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     Defendant Rauls was arraigned on February 4, 2008,

marking the start of his seventy-day period. On February

21, 2008, Defendant Sims filed a Motion to Suppress (Doc.

20), marking the start of excludable time. 4 On April 30,

2008, while there were still pending motions in the case,

Defendant Sims changed his plea to guilty. (Doc. 55.)

This Court adjudged Defendant Sims guilty and entered a

sentence on December 12, 2008. -5        Based on Childers, the

period of time between Defendant Sims filing the Motion to

Suppress and this Court sentencing Defendant Sims is

properly excludable as to Defendant Rauls. In addition,

the period of time from January 12, 2009, when Defendant

Rauls filed the Motion presently before the Court, to the

present is excludable. Therefore, according to the Court's

calculations based on Childers, only forty-six non-

excludable days have elapsed since Defendant Rauls was

arraigned. This Court reasons that, under the Eleventh

Circuit's holding in Childers, Defendant Rauls may not be

entitled to relief under the Speedy Trial Act.

    Nevertheless, the Government, in its response (Doc.

108), did not raise that argument and conceded that the

technical requirements of the Speedy Trial Act had not been



' Sixteen non-excludable days elapsed prior to Defendant
Sims filing the Motion to Suppress.
  On September 11, 2008, the Court resolved any remaining
motions in this case     (Doc. 102.)

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met.     The Court is hesitant to force the Government to

prosecute a case where the Government has consented to its

dismissal. Therefore, in light of the Government's

concession, the Court will DISMISS the Indictment with

respect to Defendant Rauls.

                               CONCLUSION

       After careful consideration, Defendant Rauls's Motion

to Dismiss is GRANTED. The Indictment, with respect to

Defendant Rauls, is DISMISSED WITHOUT PREJUDICE.
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     SO ORDERED this Jfday of February, 2009.




                            WILLIAM T. MOORE, JR., CH 4<F JUDGE
                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA




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